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IN THE UNITED STATES DISTRICT COURT F"_ED ama 0 (`
FOR THE WESTERN DISTRICT OF TENNESSEE "` " '~ ` "'

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INC., ) cu:m<. us mm cr
) W.D. OF '?N, ¥'E-:E-'MPH!S
Plaintiff, )
l
v. ) No. 05-2353 B/An
)
RoBERT s. RUssELL and )
soUTHERN FIRE & SECURiTY, INC., )
)
Defendants. )

 

ORDER RESETTING HEARING

 

Before the Court is the motion for protective order and motion for expedited discovery
that United States District Judge J. Daniel Breen referred to the Magistrate Judge for
determination A hearing on these matters is currently set to be held on Thursday, June 16, 2005',
however, it is ORDERED that the hearing Shall be rescheduled to occur before United States
l\/lagistrate Judge S. Thomas Anderson on THURSDAY, JUNE 30, 2005 at 10:30 A.M. in
Courtroom M-3, 9th Floor, Federal Building, Memphis, 'l`ermessee.

IT lS SO ORDERED.

(S%,M 544

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Q-w¢~¢ /5€ 200(
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02353 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Reagan F. Goins

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l\/lemphis7 TN 38103--246

Honorable J. Breen
US DISTRICT COURT

